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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-
    1(b)
    Forman Holt
    365 West Passaic Street
    Suite 400
    Rochelle Park, NJ 07662
    Telephone: (201) 857-7110
    Facsimile: (201) 665-6650
    Charles M. Forman, Esq. (CMF-8937)
    Michael E. Holt, Esq. (MEH-8735)
    Proposed Counsel for the Debtors

    K&L Gates LLP
    One Newark Center
    1085 Raymond Boulevard, 10th Floor
    Newark, NJ 07102
    Telephone: (973) 848-4000
    Facsimile: (973) 848-4001
    Daniel M. Eliades, Esq. (DME-6203)
    David S. Catuogno, Esq (DSC-1397)
    William Waldman, Esq. (WLW-1452)
    Caitlin C. Conklin, Esq. (CCC-5117)
    Proposed Special Counsel for the Debtors

                                                                   Case No. 24-13427 (SLM)
    In re:                                                         Judge: Stacey L. Meisel
                                                                   Chapter 11
    Supor Properties Enterprises LLC, et al. 1,
                                                                   (Joint Administration Requested)
                                    Debtors.

                                      CERTIFICATION OF SERVICE

1.           I, Pavneet Kaur:

              represent the__________________________ in the above-captioned matter.
              am the legal assistant/paralegal for K&L Gates LLP, who is proposed special counsel
             to the Debtors in the above captioned matter.


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Supor Properties Enterprises LLC (5580); J Supor 136-1 Realty LLC (3205); Supor-172 Realty LLC
(EIN No. 5662); Supor Properties Breiderhoft LLC (7258); Supor Properties Devon LLC (6357); Shore Properties
Associates North LLC (6707); Supor Properties 600 Urban Renewal, LLC (8604); JS Realty Properties, LLC (2497);
and Supor Properties Harrison Avenue, LLC (1728).


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           am the ____________________ in the above case and am representing myself.
2.        On April 5, 2024, I sent a copy of the following pleadings and/or documents to the parties
          listed in the chart below:
                 •   Joint Application of Debtors Pursuant to 11 U.S.C § 327(e), Fed. R. BankR. P.
                     2014, and Local Rule 2014-1, Authorizing and Approving the Employment and
                     Retention of K&L Gates LLP as Special Counsel


3.        I hereby certify under penalty of perjury that the above documents were sent using the
          mode of service indicated.

Dated:         April 5, 2024                    /s/ Pavneet Kaur
                                                Pavneet Kaur




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         Name and Address                Relationship of                 Mode of Service
           of Party Served              Party to the Case
 Peter J. D’Auria, Esq.                US Trustee –          Hand-delivered
 Office of the United States Trustee   Notice of             Regular Mail
 One Newark Center Ste 2100            Appearance            Certified mail/RR
 1085 Raymond Boulevard                                      Other FedEx Overnight
 Newark, NJ 07102                                                (As authorized by the Court or by rule.
                                                                     Cite the rule if applicable.)
 1000 Frank E. Rodgers 1 LLC           Creditor              Hand-delivered
 Attn: Brian Schatz                                          Regular Mail
 520 Madison Avenue, Suite 3501                              Certified mail/RR
 New York, NY 10022                                          Other FedEx Overnight
                                                                 (As authorized by the Court or by rule.
                                                                     Cite the rule if applicable.)
 Frank E. Rodgers 2 LLC                Creditor              Hand-delivered
 Attn: Brian Schatz                                          Regular Mail
 520 Madison Avenue, Suite 3501                              Certified mail/RR
 New York NY 10022                                           Other FedEx Overnight
                                                                 (As authorized by the Court or by rule.
                                                                     Cite the rule if applicable.)
 Jerold C. Feuerstein, Esq.            Attorneys for 1000    Hand-delivered
 Daniel Zinman, Esq.                   Frank E. Rodgers 1    Regular Mail
 Kriss & Feuerstein LLP                LLC & Frank E.        Certified mail/RR
 360 Lexington Avenue, Suite 1200      Rodgers 2 LLC –       Other FedEx Overnight
 New York, NY 10017                    Notice of                 (As authorized by the Court or by rule.
 jfeuerstein@kandfllp.com              Appearance                    Cite the rule if applicable.)



 Town of Harrison                      Creditor              Hand-delivered
 318 Harrison Avenue                                         Regular Mail
 Harrison, NJ 07029                                          Certified mail/RR
                                                             Other FedEx Overnight
                                                                 (As authorized by the Court or by rule.
                                                                     Cite the rule if applicable.)
 Harrison Redevelopment Agency         Notice Party          Hand-delivered
 Attn: Paul Zarbetski                                        Regular Mail
 318 Harrison Avenue                                         Certified mail/RR
 Harrison, NJ 07029                                          Other FedEx Overnight
 pzarbetski@townofharrison.com                                   (As authorized by the Court or by rule.
                                                                     Cite the rule if applicable.)
 Harrison Redevelopment Agency         Notice Party          Hand-delivered
 c/o James Bruno                                             Regular Mail
 Castano Quigley Cherami LLP                                 Certified mail/RR
 7 Giralda Farms, Suite 110                                  Other FedEx Overnight
 Madison, NJ 07940                                               (As authorized by the Court or by rule.
 jbruno@cqclaw.com                                                   Cite the rule if applicable.)




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 Town of Kearny                       Creditor            Hand-delivered
 402 Kearny Avenue                                        Regular Mail
 Kearny, NJ 07032                                         Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Township of Brick                    Creditor            Hand-delivered
 401 Chambers Bridge Road                                 Regular Mail
 Brick, NJ 08723                                          Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Brick Township M.U.A.                Creditor/Utility    Hand-delivered
 1551 Highway 88 West                 Provider            Regular Mail
 Brick, NJ 08724-2399                                     Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 PSEG                                 Creditor/Utility    Hand-delivered
 80 Park Place                        Provider            Regular Mail
 Newark, NJ 07102                                         Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Verizon                              Creditor/Utility    Hand-delivered
 500 Technology Drive, Suite 550      Provider            Regular Mail
 Weldon Spring, MO 63304                                  Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Spinner Tech                         Utility Provider    Hand-delivered
 311 W. 43rd Street, 10th Floor                           Regular Mail
 New York, NY 10036                                       Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Munidex                              Utility Provider    Hand-delivered
 11-43 Raymond Plaza West                                 Regular Mail
 One Gateway Center                                       Certified mail/RR
 Suite 2600                                               Other FedEx Overnight
 Newark, NJ 07102                                             (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Veolia Water Contract Operations     Creditor/Utility    Hand-delivered
 USA Inc.                             Provider            Regular Mail
 69 DeVoe Place                                           Certified mail/RR
 Hackensack, NJ 07601                                     Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)



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 New Jersey Department of             Creditor            Hand-delivered
 Environmental Protection                                 Regular Mail
 Mail Code 401-04N                                        Certified mail/RR
 401 East State Street                                    Other FedEx Overnight
 Trenton, NJ 08625-0420                                       (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 City Fire Equipment                  Creditor            Hand-delivered
 733 Ridgedale Avenue                                     Regular Mail
 East Hanover, NJ 07936                                   Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 M& J Comprelli LLC                   Creditor            Hand-delivered
 63 Tiffany Drive                                         Regular Mail
 East Hanover, NJ 07936                                   Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Railworks Track Services             Creditor            Hand-delivered
 600 Meadowlands Parkway                                  Regular Mail
  Suite 265                                               Certified mail/RR
 Secaucus, NJ 07094                                       Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 I.B. Abel Inc.                       Creditor            Hand-delivered
 2745 Black Bridge Road                                   Regular Mail
 York, PA 17406                                           Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Stalwart Productions LLC             Creditor            Hand-delivered
 2425 Olympic Boulevard                                   Regular Mail
 Santa Monica CA 90404                                    Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Riggs Distler & Company, Inc         Creditor            Hand-delivered
 4 Easterbrook Lane                                       Regular Mail
 Cherry Hill, NJ 08003                                    Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Montana Construction Corp. Inc.      Creditor            Hand-delivered
 201 Devon Terrace                                        Regular Mail
 Kearny, NJ 07032                                         Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)



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 Crown Castle Towers 09, LLC        Creditor            Hand-delivered
 1220 Augusta Drive #600                                Regular Mail
 Houston, TX 77057                                      Certified mail/RR
                                                        Other FedEx Overnight
                                                            (As authorized by the Court or by rule.
                                                                Cite the rule if applicable.)
 Cool Concessions LLC               Creditor            Hand-delivered
 94 Mantoloking Road                                    Regular Mail
 Brick, NJ 08723                                        Certified mail/RR
                                                        Other FedEx Overnight
                                                            (As authorized by the Court or by rule.
                                                                Cite the rule if applicable.)
 Newlin Construction LLC            Creditor            Hand-delivered
 94 Mantoloking Road                                    Regular Mail
 Brick, NJ 08723                                        Certified mail/RR
                                                        Other FedEx Overnight
                                                            (As authorized by the Court or by rule.
                                                                Cite the rule if applicable.)
 R. Kremer & Son Marine             Creditor            Hand-delivered
 Contractors LLC                                        Regular Mail
 94 Mantoloking Road                                    Certified mail/RR
 Brick, NJ 08723                                        Other FedEx Overnight
                                                            (As authorized by the Court or by rule.
                                                                Cite the rule if applicable.)
 Michael Sonta                      Creditor            Hand-delivered
 94 Mantoloking Road                                    Regular Mail
 Brick, NJ 08723                                        Certified mail/RR
                                                        Other FedEx Overnight
                                                            (As authorized by the Court or by rule.
                                                                Cite the rule if applicable.)
 Biancella Enterprises Inc.         Creditor            Hand-delivered
 94 Mantoloking Road                                    Regular Mail
 Brick, NJ 08723                                        Certified mail/RR
                                                        Other FedEx Overnight
                                                            (As authorized by the Court or by rule.
                                                                Cite the rule if applicable.)
 Dan Nuse Inc.                      Creditor            Hand-delivered
 94 Mantoloking Road                                    Regular Mail
 Brick, NJ 08723                                        Certified mail/RR
                                                        Other FedEx Overnight
                                                            (As authorized by the Court or by rule.
                                                                Cite the rule if applicable.)
 WFD Inc.                           Creditor            Hand-delivered
 94 Mantoloking Road                                    Regular Mail
 Brick, NJ 08723                                        Certified mail/RR
                                                        Other FedEx Overnight
                                                            (As authorized by the Court or by rule.
                                                                Cite the rule if applicable.)




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 Ideanomics Inc.                      Creditor            Hand-delivered
 1441 Broadway, Suite 5166                                Regular Mail
 New York, NY 10018                                       Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Machinery Values, Inc.               Creditor            Hand-delivered
 500 Supor Boulevard                                      Regular Mail
 Harrison, NJ 07029                                       Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Skanska Traylor PNB Joint            Creditor            Hand-delivered
 Venture                                                  Regular Mail
 75-20 Astoria Boulevard                                  Certified mail/RR
 Suite 200                                                Other FedEx Overnight
 East Elmhurst, NY 11370                                      (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Dominate Food Service II, L.L.C.     Creditor            Hand-delivered
 1600 Route 22, Suite 100                                 Regular Mail
 Union, NJ 07083                                          Certified mail/RR
                                                          Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 Internal Revenue Service             Notice Party        Hand-delivered
 2970 Market Street                                       Regular Mail
 Mail Stop 5-Q30.133                                      Certified mail/RR
 Philadelphia, PA 19101-7346                              Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 United States Attorney               Notice Party        Hand-delivered
 Peter Rodino Federal Building                            Regular Mail
 970 Broad Street, Suite 700                              Certified mail/RR
 Newark, NJ 07102                                         Other FedEx Overnight
                                                              (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 United States Attorney General       Notice Party        Hand-delivered
 United States Department of                              Regular Mail
 Justice                                                  Certified mail/RR
 950 Pennsylvania Avenue NW                               Other FedEx Overnight
 Washington, DC 20530                                         (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)
 United States Securities &           Notice Party        Hand-delivered
 Exchange Commission                                      Regular Mail
 New York Regional Office                                 Certified mail/RR
 100 Pearl Street, Suite 20-100                           Other FedEx Overnight
 New York, NY 10004-2616                                      (As authorized by the Court or by rule.
                                                                  Cite the rule if applicable.)



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 New Jersey Attorney General      Notice Party        Hand-delivered
 Division of Law                                      Regular Mail
 Richard J. Hughes Justice                            Certified mail/RR
 Complex                                              Other FedEx Overnight
 25 Market Street                                         (As authorized by the Court or by rule.
 P.O. Box 112                                                 Cite the rule if applicable.)
 Trenton, NJ 08625-0112




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